    [NOT FOR PUBLICATION--NOT TO BE CITED AS PRECEDENT]
               United States Court of Appeals
                   For the First Circuit

No. 97-1789

                        UNITED STATES,

                          Appellee,

                              v.

                 AMABLE D. GUERRERO-SORIANO,

                    Defendant, Appellant.

        APPEAL FROM THE UNITED STATES DISTRICT COURT

              FOR THE DISTRICT OF PUERTO RICO

     [Hon. Juan M. Perez-Gimenez, U.S. District Judge]

                           Before

                   Torruella, Chief Judge,
               Coffin, Senior Circuit Judge,
                 and Stahl, Circuit Judge.

   Evelyn Quinones Carrasquillo on brief for appellant.
   Guillermo Gil, United States Attorney, Camille Velez-Rive,
Nelson Perez-Sosa, Assistant United States Attorneys, and Jose A.
Quiles-Espinosa, Senior Litigation Counsel, on brief for appellee.

May 14, 1998

                                       Per Curiam.  Upon careful review of the briefs and
record, we conclude that the district court was not required
to grant defendant safety valve relief under U.S.S.G. 
5C1.2(5) or an adjustment for his role in the offense under
U.S.S.G.  3B1.2(b).  The findings underlying the district
court's rulings -- that defendant had not truthfully provided
all his information about the offense, and that he was not
less culpable than most other participants -- are adequately
supported by the record and the inferences reasonably to be
drawn therefrom.
          Affirmed.  See 1st Cir. Loc. R. 27.1.
